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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION -

4.5. DIST
INDICTMENT NO. p 3 0b
a JW -

UNITED STATES OF AMERICA

  
  

18 U.S.C. § 1519
Destruction, Alteratignh,or
Falsification of Record@-ii:

)

)
Vv. )
)
)
) Investigations and Bankruptcy
)
)
)
)
)

SAMMIE LEE SIAS

18 U.S.C. § 1001(a)(2)

False Statement or Representation
Made to a Department or Agency of
the United States

THE GRAND JURY CHARGES: CR12°-0048
COUNTONE |

Destruction, Alteration, or Falsification of Records in a Federal Investigation

18 U.S.C. § 1519

On or about August 5, 2019, in Richmond County, within the Southern District
of Georgia, the defendant, SAMMIE LEE SIAS did knowingly alter, destroy,
mutilate, conceal, and coverup records, documents and other objects, to wit, digital
files belonging to Sandridge Community Association (SCA), which included invoices,
spreadsheets, work orders, payments, agendas, minutes, financialreports and other
documentation of Jamestown Community Center (Jamestown), Jamestown Special
Purpose Local Option Sales Tax (GPLOST), SCA Board of Directors, SCA Summer
Camp, with the intent to impede, obstruct, and influence the investigation and proper
administration of a federal criminal grand jury investigation, a matter that the
defendant knew was within the jurisdiction of the Department of Justice and Federal
Bureau of Investigation, a department and agency of the United States.

All in violation of Title 18, United States Code, Section 1519.
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COUNT TWO

False Statement or Representation Made to a Department or Agency of the United
States
18 U.S.C. § 1001(a)(2)

On or about August 9, 2019, in Richmond County, within the Southern District of
Georgia, the defendant, SAMMIE SIAS, did willfully and knowingly make a
materially false, fictitious, and fraudulent statement and representation in a matter
within the jurisdiction of the Department of Justice, an agency of the United States;
by falsely and fraudulently representing to Special Agent Charles McKee of the
Federal Bureau of Investigation, at the residence of SAMMIE LEE SIAS, in
Hephzibah, Georgia, in the Southern District of Georgia, that he, SAMMIE LEE
SIAS, had provided all electronic and paper files in his possession related to
Sandridge Community Association and Jamestown. The statement and
representation were false because, as SAMMIE LEE SIAS then and there knew, on
August 5 and 6, 2019, SAMMIE LEE SIAS had not provided all electronic and paper
files in his possession related to Sandridge Community Association and Jamestown
and, instead, still possessed digital files belonging to Sandridge Community
Association (SCA), which included invoices, spreadsheets, work orders, payments,
agendas, minutes, financial reports and other documentation of Jamestown,
Jamestown Special Purpose Local Option Sales Tax (SPLOST), SCA Board of
Directors, SCA Summer Camp.

All in violation of Title 18, United States Code, Section 1001.

(Signatures on following page)
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A True Bil¥
Foreperson
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Branch Office Chief

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